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                            UNITED STATES DISTRICT COURT
                                    District of Maine



                                                   )
 DALE MADDOCKS,                                    )   Docket No. 2:15-cv-00168-JAW
                          Plaintiff                )
                                                   )
 v.                                                )
                                                   )
 PORTLAND POLICE DEPARTMENT,                       )
 PORTLAND POLICE DEPARTMENT                        )
 CHIEF MICHAEL SAUSCHUCK,                          )
 PORTLAND POLICE DEPARTMENT                        )
 OFFICER JESSICA BROWN, PORTLAND                   )
 POLICE DEPARTMENT SERGEANT                        )
 FRANK HEATH GORHAM, PORTLAND                      )
 POLICE DEPARTMENT OFFICER HENRY                   )
 JOHNSON, COUNTY OF CUMBERLAND,                    )
 CUMBERLAND COUNTY SHERIFF                         )
 KEVIN JOYCE, ET AL,                               )
                   Defendants                      )
                                                   )


      ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS CUMBERLAND
                       COUNTY AND KEVIN JOYCE


        NOW COME Defendants Cumberland County and Kevin Joyce, through counsel, and hereby

respond to the allegations contained in Plaintiff’s Complaint as follows:

                                      AFFIRMATIVE DEFENSES

        A. Plaintiff’s Complaint fails to state a cause of action against these Defendants upon which

relief may be granted.

        B. To the extent that Defendant Joyce is sued in his individual capacity, he is entitled to

qualified immunity.
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       C. To the extent that Defendant Joyce is sued in his individual capacity, he is entitled to

discretionary function immunity for any counts brought pursuant to the Maine Tort Claims Act.

       D. To the extent that Defendant Joyce is sued in his individual capacity, he is entitled to

intentional act immunity for any counts brought pursuant to the Maine Tort Claims Act.

       E. Plaintiff has failed to comply with the notice requirements contained in the Maine Tort

Claims Act.

       F. Defendant Cumberland County is entitled to general immunity under the Maine Tort

Claims Act.

       G. Plaintiff’s damages were directly and proximately caused by the acts and/or omissions

of an individual and/or entity other than these Defendants.

       H. Plaintiff’s damages were directly and proximately caused by a legally sufficient

superceding/intervening cause.

       I. Plaintiff has failed to mitigate his damages as required by law.

                                             ANSWER

                                            The Parties

       1. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       2. These Defendants admit the allegations contained in Paragraph 2 of Plaintiff’s Complaint.

       3. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.


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       4. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       5. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       6. These Defendants admit the allegations contained in Paragraph 6 of Plaintiff’s Complaint.

       7. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       8. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                                               Facts

       9. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       10. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       11. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore


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deny same.

       12. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       13. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       14. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       15. These Defendants admit the allegations contained in Paragraph 15 of Plaintiff’s

Complaint. NEED TO SEE RECORDS

       16. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       17. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       18. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.




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       19. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       20. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       21. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       22. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       23. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       24. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       25. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.




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       26. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       27. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       28. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       29. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       30. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       31. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                                  Count I - False Imprisonment
                      Portland Police Officers Brown, Gorham and Johnson

       32. These Defendants repeat and reassert the responses provided to the allegations contained

in Paragraphs 1 through 31 of Plaintiff’s Complaint as if fully set forth herein.



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       33. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       34. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       35. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       36. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       37. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       38. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       39. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.




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       40. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                                   Count II - Assault & Battery

       41. These Defendants repeat and reassert the responses provided to the allegations contained

in Paragraphs 1 through 40 of Plaintiff’s Complaint as if fully set forth herein.

       42. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       43. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                                   Count III - 5 M.R.S. § 4682
                      Portland Police Officers Brown, Gorham and Johnson

       44. These Defendants repeat and reassert the responses provided to the allegations contained

in Paragraphs 1 through 43 of Plaintiff’s Complaint as if fully set forth herein.

       45. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       46. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.



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       47. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       48. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                                    Count IV - 5 M.R.S. § 4682
                             Portland Police Chief Michael Sauschuck

       49. These Defendants repeat and reassert the responses provided to the allegations contained

in Paragraphs 1 through 48 of Plaintiff’s Complaint as if fully set forth herein.

       50. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       51. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       52. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       53. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.



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       54. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       55. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                                    Count V - 5 M.R.S. § 4682
                                    Portland Police Department

       56. These Defendants repeat and reassert the responses provided to the allegations contained

in Paragraphs 1 through 54 of Plaintiff’s Complaint as if fully set forth herein.

       57. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       58. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       59. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       60. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.



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                             Count VI - 5 M.R.S. § 4682
  Unknown Cumberland County Sheriff’s Deputy and three Unknown Cumberland County Jail
                                 Corrections Officers

       61. These Defendants repeat and reassert the responses provided to the allegations contained

in Paragraphs 1 through 60 of Plaintiff’s Complaint as if fully set forth herein.

       62. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       63. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       64. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       65. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                                 Count VII - 5 M.R.S. § 4682
                             Cumberland County Sheriff Kevin Joyce

       66. These Defendants repeat and reassert the responses provided to the allegations contained

in Paragraphs 1 through 65 of Plaintiff’s Complaint as if fully set forth herein.

       67. These Defendants deny the allegations contained in Paragraph 67 of Plaintiff’s

Complaint.



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       68. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       69. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       70. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       71. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                                   Count VIII - 5 M.R.S. § 4682
                                     County of Cumberland

       72. These Defendants repeat and reassert the responses provided to the allegations contained

in Paragraphs 1 through 71 of Plaintiff’s Complaint as if fully set forth herein.

       73. These Defendants admit the allegations contained in Paragraph 73 of Plaintiff’s

Complaint.

       74. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.




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       75. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       76. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                                   Count IX - 42 U.S.C. § 1983
                             Portland Police Chief Michael Sauschuck

       77. These Defendants repeat and reassert the responses provided to the allegations contained

in Paragraphs 1 through 76 of Plaintiff’s Complaint as if fully set forth herein.

       78. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       79. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       80. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       81. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.



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       82. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                                    Count X - 42 U.S.C. § 1983
                                    Portland Police Department

       83. These Defendants repeat and reassert the responses provided to the allegations contained

in Paragraphs 1 through 82 of Plaintiff’s Complaint as if fully set forth herein.

       84. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       85. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       86. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       87. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                                  Count XI - 42 U.S.C. § 1983
                      Portland Police Officers Brown, Gorham and Johnson

       88. These Defendants repeat and reassert the responses provided to the allegations contained

in Paragraphs 1 through 87 of Plaintiff’s Complaint as if fully set forth herein.


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       89. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       90. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       91. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       92. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                            Count XII - 42 U.S.C. § 1983
  Unknown Cumberland County Sheriff’s Deputy and three Unknown Cumberland County Jail
                                 Corrections Officers

       93. These Defendants repeat and reassert the responses provided to the allegations contained

in Paragraphs 1 through 92 of Plaintiff’s Complaint as if fully set forth herein.

       94. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       95. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.


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       96. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       97. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                                  Count XIII - 42 U.S.C. § 1983
                                      Sheriff Kevin Joyce

       98. These Defendants repeat and reassert the responses provided to the allegations contained

in Paragraphs 1 through 97 of Plaintiff’s Complaint as if fully set forth herein.

       99. These Defendants deny the allegations contained in Paragraph 99 of Plaintiff’s

Complaint.

       100. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       101. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       102. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.




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       103. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

                                  Count XIV - 42 U.S.C. § 1983
                                     County of Cumberland

       104. These Defendants repeat and reassert the responses provided to the allegations

contained in Paragraphs 1 through 103 of Plaintiff’s Complaint as if fully set forth herein.

       105. These Defendants admit the allegations contained in Paragraph 105 of Plaintiff’s

Complaint.

       106. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       107. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       108. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

                                  Count XV - Punitive Damages

       109. These Defendants repeat and reassert the responses provided to the allegations

contained in Paragraphs 1 through 108 of Plaintiff’s Complaint as if fully set forth herein.




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        110. As to Defendants Cumberland County and Kevin Joyce, denied. For the remaining

Defendants, these Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in Plaintiff’s Complaint and therefore deny same.

        111. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

        112. To the extent that a claim for punitive damages is made against Defendant Cumberland

County or Defendant Joyce in his official capacity, denied as a matter of law. As to any remaining

Defendants, these Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in Plaintiff’s Complaint and therefore deny same.

                                        Demand for Jury Trial

        113. No response is required to the allegations contained in Paragraph 113 of Plaintiff’s

Complaint.

        WHEREFORE, Defendants Cumberland County and Kevin Joyce pray that judgment be

entered in their favor and against Plaintiff on all counts which address them, plus their costs, interest,

and attorneys fees.


Dated: June 9, 2015                                       /s/ Peter T. Marchesi
                                                         Peter T. Marchesi

                                                          /s/ Cassandra S. Shaffer
                                                         Cassandra S. Shaffer, Esq.
                                                         Wheeler & Arey, P.A.
                                                         Attorneys for Defendants Cumberland County
                                                                 and Kevin Joyce
                                                         27 Temple Street, P.O. Box 376
                                                         Waterville, ME 04903-0376


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                           UNITED STATES DISTRICT COURT
                                   District of Maine
                                                    )
 DALE MADDOCKS,                                     )    Docket No. 2:15-cv-00168-JAW
                         Plaintiff                  )
                                                    )
 v.                                                 )
                                                    )
 PORTLAND POLICE DEPARTMENT,                        )
 PORTLAND POLICE DEPARTMENT                         )
 CHIEF MICHAEL SAUSCHUCK,                           )
 PORTLAND POLICE DEPARTMENT                         )
 OFFICER JESSICA BROWN, PORTLAND                    )
 POLICE DEPARTMENT SERGEANT                         )
 FRANK HEATH GORHAM, PORTLAND                       )
 POLICE DEPARTMENT OFFICER HENRY                    )
 JOHNSON, COUNTY OF CUMBERLAND,                     )
 CUMBERLAND COUNTY SHERIFF                          )
 KEVIN JOYCE, ET AL,                                )
                   Defendants                       )
                                                    )

                                CERTIFICATE OF SERVICE

        I, Peter T. Marchesi, Esq., attorney for the Cumberland County Defendants, hereby certify
that:

        !      Answer and Affirmative Defenses of Defendants Cumberland County and Kevin
               Joyce

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

               Christopher Nielsen, Esq.     (nielsen.esq@nielsengrouplaw.com)



Dated: June 9, 2015                                      /s/ Peter T. Marchesi
                                                        Peter T. Marchesi, Esq.
                                                        Attorney for Defendants
                                                        Wheeler & Arey, P.A.
                                                        27 Temple Street, P.O. Box 376
                                                        Waterville, ME 04903-0376

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